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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
JOHN KOE } CASE NO. 1:22-CV-01455

)

Plaintiff ) JUDGE DAN AARON POLSTER
)
)
vs. )
)
UNIVERSITY HOSPITALS HEALTH  }
SYSTEM, INC., et al., )
)
Defendants. )

NOTICE OF APPEAL

Plaintiff, John Koe, appeals to the United States Court of Appeals for the Sixth Circuit
from the Order and final Judgment dismissing Plaintiff's entire action under 28 U.S.C. 1915{e)
entered on October 13, 2022. (Docs #7 and #8), from the Order issuing a protective order
prohibiting Plaintiff from communicating with Defendants’ officers, employees, or affiliates
entered on October 11, 2022 (Doc #6), from the Order denying Plaintiff's motion for
reconsideration and to alter/amend judgment entered on November 10, 2022 (Doc #10), and

from the certification(s) that an appeal could not be taken in good faith (Docs #8 and #10).

Dated: November 14, 2022 Respectfully submitted,

Lyn Mere
John Koe
PO Box 527
Novelty OH 44072-0527
Tel: (330) 732-5001 .
Email: john@johnkoe.org

Plaintiff, pro se
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CERTIFICATE OF SERVICE
I certify that on November 14, 2022, a copy of the foregoing was filed with the clerk of
the District Court. Notice of this filing should be sent to all parties registered as users in

CM/ECF who may access this filing through the Court’s electronic filing system.

Dated: November 14, 2022 AvA, (¢

John Koe

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Plaintiff, pro se
